
39 So. 3d 560 (2010)
Antonio Tavarus JONES, Petitioner,
v.
STATE of Florida, Respondent.
No. 1D10-2096.
District Court of Appeal of Florida, First District.
July 23, 2010.
*561 Nancy A. Daniels, Public Defender, and Paula S. Saunders, Assistant Public Defender, Tallahassee, for Petitioner.
Bill McCollum, Attorney General; Trisha Meggs Pate and Brooke Poland, Assistant Attorneys General, Tallahassee, for Respondent.
PER CURIAM.
Petitioner is hereby granted a belated appeal of the November 24, 2009, judgment and sentence in Duval County Circuit Court case number 16-2008-CF-010501-AXXX-MA. Upon issuance of mandate in this cause, a copy of this opinion shall be provided to the clerk of the circuit court for treatment as the notice of appeal. Fla. R.App. P. 9.141(c)(5)(D). If petitioner qualifies for appointed counsel, the trial court shall appoint counsel to represent petitioner on appeal.
WOLF, ROBERTS, and ROWE, JJ., concur.
